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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.1.1
                                Eastern Division

Monika Carney
                                      Plaintiff,
v.                                                       Case No.: 1:15−cv−10877
                                                         Honorable Marvin E. Aspen
DNF Associates, LLC, et al.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 13, 2016:


        MINUTE entry before the Honorable Marvin E. Aspen:Pursuant to Notice of
Acceptance of Rule 68 Offer of Judgment [9], judgment for $1001.00 is entered in favor
of Plaintiff and against Defendants, and leave is granted for parties to confer on Plaintiff's
reasonable attorney's fees and costs pursuant to local rule. Status hearing of 10/20/2016 is
stricken. Civil case terminated. Mailed notice(mad, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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